       Case 2:18-cv-04127-ILRL-JCW Document 1 Filed 04/20/18 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


CLINT PINEDA                      * CIVIL ACTION NO:
                                  *
VERSUS                            * SECTION:
                                  *
POSEIDON PERSONNEL SERVICES S.A.; * JUDGE:
SOLITAIRE TRANSPORT               *
CHARTERING (NV); AND              * MAGISTRATE:
ALLSEAS GROUP S.A.                *
                                  *
****************************************************

                         COMPLAINT FOR DAMAGES
              UNDER THE JONES ACT AND GENERAL MARITIME LAW

TO THE HONORABLE UNITED STATES DISTRICT COURT FOR THE EASTERN
DISTRICT OF LOUISIANA AND THE JUDGES THEREOF:

       The Complaint of Clint Pineda, a person of majority age and resident of Marrero,

Louisiana, with respect represents:

                                                  1.

       Made Defendants herein are:

   a. Poseidon Personnel Services S.A., a foreign entity doing business in this state and

       judicial district at all material times;

   b. Solitaire Transport Chartering (NV), a foreign entity doing business in this state and

       judicial district at all material times; and

   c. Allseas Group S.A., a foreign entity doing business in this state and judicial district at all

       material times.

                              FOR A FIRST CAUSE OF ACTION

                                                  2.

       At all relevant times, Defendant Poseidon Personnel Services S.A. (“Poseidon”) and/or


                                                      1
       Case 2:18-cv-04127-ILRL-JCW Document 1 Filed 04/20/18 Page 2 of 4



Allseas Group S.A. (“Allseas”) employed Clint Pineda (“Plaintiff”) as a Welder Foreman, for

which job he earned a base salary of $9,700.00 per month plus additional allowances, bonuses,

fringe and found benefits.

                                                3.

       At all relevant times, Defendants Solitaire Transport Chartering (NV) (“Solitaire

Transport”) and/or Allseas owned, operated, managed and/or controlled the SOLITAIRE, a

pipelaying vessel in navigation.

                                                4.

       On or about May 24, 2016, while Plaintiff was performing his assigned tasks aboard the

SOLITAIRE, which was located in the Netherlands at the time, Plaintiff suffered severe and

permanently disabling injuries to his lumbar and cervical spines, and connective nerves, joints

and tissues, when his head struck a piece of angle iron while descending a stairwell on the vessel.

                                                5.

       Following the above-described incident, Plaintiff was transported back to Louisiana

where he received and continues to receive substantial medical treatment for the aforementioned

severe and permanently disabling injuries.

                                                6.

       The above-described incident and resulting injuries to Plaintiff were caused by the joint

and concurring fault and negligence of Defendants Poseidon, Solitaire Transport, Allseas, and

the unseaworthiness of the SOLITAIRE.

                                                7.

       By reasons of the foregoing, Plaintiff has suffered past and future physical, mental, and

emotional pain and suffering, permanent physical disability, loss of wages and wage-earning



                                                2
       Case 2:18-cv-04127-ILRL-JCW Document 1 Filed 04/20/18 Page 3 of 4



capacity, loss of fringe benefits and found, and past and future medical expenses, for which

damages Plaintiff seeks and is entitled to recover from Defendants an amount reasonable under

the circumstances of this cause.

                                                8.

       Jurisdiction of this cause of action against the aforesaid Defendants is based upon the

Jones Act, 46 U.S.C. §30104, et seq., and the general maritime law of the United States of

America.

       WHEREFORE¸ Plaintiff Clint Pineda prays for judgment in his favor and against

Defendants Poseidon Personnel Services S.A., Solitaire Transport Chartering (NV), and Allseas

Group S.A. for compensatory damages in an amount reasonable under the circumstances of this

cause, for all taxable costs and interest as allowed by law, and for any additional general and

equitable relief to which the circumstances of this cause may require.

                                             Respectfully submitted,

                                             /s/ Ian F. Taylor ____________
                                             DAVID A. ABRAMSON (#21435)
                                             IAN F. TAYLOR (#33408)
                                             Lewis, Kullman, Sterbcow & Abramson
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PLEASE SERVE:

POSEIDON PERSONNEL SERVICES S.A.
Route de Pra de Plan 18
1618 Châtel-Saint-Denis
Switzerland



                                                3
      Case 2:18-cv-04127-ILRL-JCW Document 1 Filed 04/20/18 Page 4 of 4



ALLSEAS GROUP S.A.
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1618 Châtel-Saint-Denis
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SOLITAIRE TRANSPORT CHARTERING (NV)
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B-2910 Essen
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                                            4
